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                    AGREN BLANDO COURT REPORTING & VIDEO INC.
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            IN THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF COLORADO

            Case No. 10-CV-02103-PAB-KLM



            DEPOSITION OF RAAWI SAHAL
            February 15, 2012


            EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,
            Plaintiff,
            and
            IRAQ ABADE, et al.,
            Plaintiff-Intervenors,
            V   .




            JBS USA, LLC d/b/a JBS SWIFT & COMPANY,
            Defendant.


            APPEARANCES:
            U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                      By Stephanie Struble, Esq.
                         303 East 17th Avenue
                         Suite 410
                         Denver, CO 80203-9634
                         Phone: 303.866.1381
                         Fax: 303.866.1375
                         stephanie.struble@eeoc.gov
                           Appearing on behalf of the Plaintiff.




                                                                                                  Exhibit F

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       1      interest of the EEOC in the deposition.

       2                       MR. DEENY: I don’t have an objection to

       3      that, I have an objection to the deponent tomorrow
       4      being in attendance.
       5                        THE COURT: I understand. And as I said,

       6      Mr. Deeny, I’m not aware of any rule in the Federal
       7      Rules of Civil Procedure, any local rule or any case

       8      law that precludes a party from attending the

       9      deposition of another party even under these
     10       circumstances.
     11                        And I want to make two points about this.
     12       Not only is there an absence of case law, despite
     13       the fact that many lawyers seem to believe that they
     14       can limit attendance at depositions, my research has
     15       revealed no authority for that conclusion.                                    That’s

     16       Point 1.
     17                         Point 2 is whether an intervenor can
     18       attend the deposition of another intervenor is not

     19       something that I addressed in my previous orders
     20       regarding depositions because it wasn’t a question
     21       that the parties directly asked.
     22                         So you’re asking it now and what I’m
     23       telling you now is that in the absence of any
     24       authority that allows me to limit the attendance of
     25       parties at depositions, I’m inclined to allow the


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      1      other individual to stay.

      2                        MR. DEENY: I understand, Your Honor. If

      3      that changes we’ll call you back.

      4                        THE COURT: That would be fine.

      5                        MR. DEENY: Thank you.

      6                        THE COURT: Thank you. Good-bye.

      7                        MS. STRUBLE: Thank you.

      B                         (Ms. Von Rohr left the room.)

      9                        MR. DEENY: Before we administer the oath,

     10      Hassan, would you give some instructions, please, as
     11 to your role and how you will conduct the

     12       interpreting function?
     13                        THE INTERPRETER: As you all know, I’m the

     14       interpreter, and what happens is -- my role is when

     15       I raise my hand, that means I’m asking the

     16       interviewee to pause so I will have an opportunity

     17       to interpret what they said, because you can only

     18       retain so much information.

     19                         So when I raise my hand, there’s nothing

     20       else, I’m just asking you to kind of pause.
     21                        MR. DEENY:            Okay.       Would you -- Ms. Ali,

     22       did you understand that?

     23                         THE DEPONENT: (Indicates by nodding.)

     24                         THE COURT: Okay. Can you administer the

     25       oath, please?


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                                                                                                            RM
      1               A        Yes.
      2               Q        And they worked at Cargill?
      3               A        Yes, they were working at Cargill.
      4                        Wait.        Repeat that question.
      5                        MR. DEENY:           Go ahead and read it back and
      6      let Hassan interpret it.
      7                         (Last question read.)
      8               A        Yes, they were working at Cargill.
      9               Q         (By Mr. Deeny)             Do you remember any names?
     10               A        I remember one of them.                      His name was Ali.

     11               Q        First name or second name?
     12               A        Yes, first name.
     13               Q        Okay.       And did you work with him at
     14      Cargill?
     15               A        When I was working at Cargill?
     16               Q        Yes.
     17               A        Yeah, he was working there, too.
     18               Q        Where did you get the application from?
     19               A        I got it from Swift.
     20               Q        And then in May or June of 2008, you took
     21      it over to people at Fort Morgan to have them fill
     22      it out for you?
     23               A        No.      His wife lived in Greeley,                      so he
     24      would come to Greeley.
     25               Q        So his wife, meaning Ali’s wife?


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      1               A        Yes. Al’s -- Al’s wife was in Greeley
      2      and she was working in Greeley.
      3               Q        And where did she work?
      4               A        She was working at Swift.
      5               Q        What’s her name?
      6               A        Nimo. N-i-m-o.
      7               Q        And does Nimo still work at Swift?
      8               A        No.
      9               Q        How long ago did she leave Swift?
     10               A        I cannot tell. I don’t know.
     11               Q        Does she still live in Greeley?
     12               A        No.
     13               Q        How long ago did she leave Greeley?
     14               A        I cannot remember that.
     15               Q        In the third page of this application did
     16      you -- when you had Ali fill this out for you, did
     17      you verify the information that was being put in the
     18      application?
     19              A        No. I don’t know what he put in there.
     20      Al]. I wanted is to apply for the job and get the
     21      job, so he was the one who was putting all this
     22      information in the application.
     23              Q        Ali apparently put that your work at
     24      Cargill was in packaging.
     25              A        That’s wrong.


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       1               Q       All apparently put that your job title was
       2      packaging.
       3              A         That’s totally wrong.
       4               Q       All put that the supervisor you had at
       5      Cargill was Aron.
       6              A         That’s not my supervisor’s name.
       7               Q       And Ali put that your salary or wage --
       8                        MR. DEENY: Let’s use wage, Hassan.
       9               Q        (By Mr. Deeny) -- wage was $12.20 per
     10       hour.
     11               A         The wage is right.
     12                Q        Okay. Were you present when Ali was
     13       filling out this information?
     14               A         He asked me my wage per hour. I do recall
     15       that. But he didn’t ask me a lot of information.
     16       He was just tilling out the application.
     17                Q        Did Ali tell you that it was important to
     18       provide accurate information to Swift?
     19               A         He didn’t tell me that. He didn’t, and I
     20       wasn’t aware that that’s -- that that was very
     21       important. Had I known the importance, I would go
     22 to someone who has a good command of English
     23       language and I would ask them to explain for me this
     24       so I can put the right information in here.
     25               Q        Would you --


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      1                        MR. DEENY:            Hassan, have her look at the

      2       last page of that.
      3                Q        (By Mr.       Deeny)         Is that your signature?

      4               A         Yes.

      5                Q        And did Ali tell you that the information

       6      above there says that you are supposed to know that
      7       the information you’re providing is accurate?
      8                A        No.
       9               Q        Before you signed that, did Ali tell you

     10       what that said?
     11                A        No.
     12                Q        Did you ask him what it said before you

     13       wrote your signature on there?
     14                A        The reason I needed his help was to help

     15       me and protect me, and he told me this is all you
     16       need to do,           just sign there, and I did it.

     17                Q        My question was did you ask him what does

     18       all that language mean?
     19                A        No.
     20                Q        And you were asking him to protect you?

     21                         MS. STRUBLE:             Objection form.

     22                A        Yes, indeed.
     23                Q         (By Mr. Deeny)              On the first page of that

     24       document did Ali read to you the notice to the
     25       applicant?


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       1              A         But I told the government, and it’s part

      2       of my claim.
      3                Q        The government being who?
       4              A         It’s the government. It’s our government.

       5      It’s the American government.
       6               Q        Who -- you said you told your lawyers
       7      about this. Who in the government did you tell

       8      about this on or about September 5th of 2008?

       9                        MS. STRUBLE: Objection. Form.

     10                A        I don’t know what you’re talking about.

     11                Q         (By Mr. Deeny) You don’t know what I’m

     12       talking about? I guess we’re even.

     13                         Would you please focus on September 5th,

     14       2008, when you claimed this yellow person -- hat

     15       person took your rug, reached into your pockets in
     16       an attempt to steal things, on or about that day did
     17       you report that to any police agency?
     18                A        No.
     19                Q        Thank you.
     20                         Do you know an individual -- well

     21       actually, let’s do this.
     22                         MR. DEENY: Hassan, look at Exhibit 17,

     23       please. And if you’d turn to the second page.
     24                Q         (By Mr. Deeny) There is a statement there

     25       that the relative who -- any relative who works for


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      1      the company, and there’s an individual there named
      2 Abdi --

      3                        MR. DEENY: Can you pronounce that for me,

      4      Hassan, please?

      5                        THE INTERPRETER: Abdi ... I don’t know.

      6      All I know is Abdi.

      7                        MR. SCHEURICH: He’s not looking at the

      8      right line.
      9                        MR. DEENY: Look up -- well, it’s two

     10      places, but --
     11                        THE INTERPRETER: It’s the same.

     12                        MR. DEENY: Look up a little bit there,

     13      Hassan,
     14                        THE DEPONENT: Abdiamar.

     15                        MR. DEENY: Abdiamar Bare?

     16                        THE DEPONENT: Last name Bare is good, but

     17       I don’t know
     18               Q         (By Mr. Deeny) Good. Who is that person?

     19               A         I have no relatives working for the

     20       company. So it’s all people that I know them.

     21               Q         So you know that -- that person?

     22               A         I don’t remember right now this person.

     23                Q        Okay. And you can read that, correct,

     24       that name?
     25               A         No. It’s blurry.


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